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Attachment A: Statement of Facts

Submitted by: Audury “Petie” Davis, Authorized Representative for Plaintiff Maryann Butler
This Statement of Facts is submitted in support of Plaintiff's civil complaint against New
American Funding (“NAF”). It outlines material events and evidence, organized by key
factual components, in connection with Plaintiff's FHA refinance process.

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Consent Form Acknowledged and Email Listed hy Borrower

Plaintiff executed a Technology Consent and Authorization Form appointing her son,
Audury Petie Davis, as her representative for all loan communications. This form was
submitted to NAF and acknowledged. (See Exhibit A)

2. Submission of Loan Applicat and Estimate
Complete Loan Packet Received and Rate Disclosures Issued

Plaintiff submitted a complete Uniform Residential Loan Application including employment,
income, and asset documentation. This packet includes a Loan Estimate disclosing terms,
fees, and closing costs. (See Exhibit B - Loan Application Packet, including Loan Estimate,
Hazard Insurance, etc.)

FHA rz cea
No Cure Notice or Guidance Ever Provided

An FHA Appraisal Report was issued identifying eligibility subject to minor repairs. No cure
notice or instructions were ever issued. The Plaintiff received no follow-up regarding repair
actions. (See Exhibit C - FHA Appraisal Report)

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Email Bouncebacks Triggered at Deadline Stage

On or about March 19, 2025, communication to NAF representatives began bouncing,
resulting in blocked access to loan personnel during the final stages of review. Plaintiff's
authorized representative experienced systematic obstruction. (See Exhibit D - Email
Bounce Backs)

5. Misrepresentations to Federal Regulator
NAF Claims “Impersonation” After Directly Engaging with Representative

In formal response to the CFPB, NAF’s Senior Vice President falsely alleged impersonation
despite previous email engagement with the Plaintiffs representative. Records show NAF
directly responded to Davis. (See Exhibit E- CFPB Response from Amy Dale)

ice il Confirm Employment Was Verified
Loan Officer Contradicts Denial Reason in Voicemail
Loan Officer Shawn Wainwright left a voicemail stating the employment verification had
been received and was under review. This evidence contradicts NAF’s claims that no such
documentation was obtained. (See Exhibit F - Voicemail Evidence)

7. Formal Complaints Filed After Exhaustion
Regulators Contacted After NAF {gnored All Resolution Attempts

After repeated communication failures, Plaintiff filed formal complaints with the CFPB,
HUD, and BBB documenting all patterns of obstruction and misrepresentation. (See Exhibit
G - Formal Complaint Filings)

Executed on April 14, 2025
Respectfully submitted,

Audury “Petie” Davis
Authorized Representative for Plaintiff Maryann Butler

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